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                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

THOMAS FEDESNA,                            §
                                           §
       Plaintiff,                          §
                                           §
v.                                         §            1:18-cv-00546-RP
                                           §
THE CANADA LIFE ASSURANCE                  §
COMPANY,                                   §
                                           §            JURY DEMAND
       Defendant.                          §



                                 JOINT ADR REPORT




1.     Status of settlement negotiations

       Tom Fedesna submitted to Canada Life a written offer of settlement on February 12,

2019. Tom Fedesna previously submitted to Canada Life a presentment letter under Texas

Civil Practice and Remedies Code Chapter 38. Canada Life made a counter-offer on March

22, 2019.



2.     Persons responsible for settlement negotiations

       Plaintiff — Tom Fedesna, with assistance from his legal counsel

       Defendant — Negotiations for Canada Life will be handled by its in-house legal

       counsel.
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3.     ADR

       The parties do not believe that court-ordered ADR is appropriate in this case. They

believe that the best prospect for settlement is through informal negotiations and, only if both

parties agree to same, mediation.
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Respectfully submitted,


 By: /s/ Amy Gibson                     By: /s/ Lance Clack

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